Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 1 of 20




                              EXHIBIT 3
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 2 of 20
                                       Huang Sulan
                                       May 26, 2023                              ·

      ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
      · · · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
      ·2· · · · · · ·IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      ·3· · · · · · ·CASE NO.: 21-60125-CIV-SCOLA/GOODMAN

      ·4· ·JIANGMEN BENLIDA PRINTED CIRCUIT CO, LTD,

      ·5· · · · · · · · ·Plaintiff,

      ·6· ·vs.

      ·7· ·CIRCUITRONIX LLC,

      ·8· · · · · · · · ·Defendant.

      ·9

      10
      · · ·VIDEOTAPED
      11· ·DEPOSITION OF:· HUANG SULAN

      12· ·DATE TAKEN:· · ·May 26, 2023

      13· ·TIME:· · · · · ·9:40 A.M. - 7:49 P.M.

      14· ·PLACE:· · · · · Podhurst Orseck, PA
      · · · · · · · · · · ·1 SE 3rd Avenue
      15· · · · · · · · · ·Suite 2300
      · · · · · · · · · · ·Miami, Florida 33131
      16
      · · ·TAKEN BEFORE:· ·ABBY G. SCHOFEL, FPR
      17· · · · · · · · · ·AND NOTARY PUBLIC

      18

      19

      20

      21

      22

      23

      24

      25


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 3 of 20
                                       Huang Sulan
                                       May 26, 2023                           34

      ·1· · · · A.· ·-- data, I think.
      ·2· · · · Q.· ·Do you know whether the tax department
      ·3· ·requires Benlida to keep the accounts receivable
      ·4· ·separate for every single customer that's a separate
      ·5· ·company that it deals with?
      ·6· · · · A.· ·Yes.· They request.
      ·7· · · · Q.· ·Okay.· And that has to do with things like
      ·8· ·foreign exchange regulations?
      ·9· · · · A.· ·Yes.
      10· · · · Q.· ·And value-added tax calculations?
      11· · · · A.· ·Yes.
      12· · · · Q.· ·Because these are foreign companies outside of
      13· ·China; correct?
      14· · · · A.· ·Yes.
      15· · · · Q.· ·Even Circuitronix Hong Kong is considered
      16· ·foreign; correct?
      17· · · · A.· ·Yes.
      18· · · · Q.· ·Okay.· Let's come back to the interrogatories.
      19· · · · A.· ·Um-hm.
      20· · · · Q.· ·The second sentence in No. 1, you or Benlida
      21· ·wrote:· Since prepayment commenced, however, the
      22· ·premiums added on to the purchases and the prepayment
      23· ·for the unshipped products have been applied to pay down
      24· ·past debts on a FIFO basis.· Do you see that?
      25· · · · A.· ·Yes.


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 4 of 20
                                       Huang Sulan
                                       May 26, 2023                           37

      ·1· · · · A.· ·Yes.
      ·2· · · · Q.· ·And the invoice you send them when you send
      ·3· ·the product as well; right?
      ·4· · · · A.· ·Yes.· Yes.
      ·5· · · · Q.· ·Okay.· So under the manufacturing agreement,
      ·6· ·the payment terms are AMS 60; correct?
      ·7· · · · A.· ·Correct.
      ·8· · · · Q.· ·And that's still in effect, right, the
      ·9· ·manufacturing agreement, that provision?
      10· · · · A.· ·Yes.· Yes.
      11· · · · Q.· ·Okay.· But at some point in time, Benlida
      12· ·required Circuitronix to do some prepayments for
      13· ·products; right?
      14· · · · A.· ·Yes.
      15· · · · Q.· ·So that is what this sentence is talking
      16· ·about, since prepayment commenced?
      17· · · · A.· ·Yes.
      18· · · · Q.· ·Okay.· So now since prepayment commenced, the
      19· ·premiums added on to the purchases, what are the
      20· ·premiums added on to the purchase, for the prepayment
      21· ·purchases?
      22· · · · A.· ·Premiums means that after we apply a complaint
      23· ·in Sinosure.· And then after Sinosure, how to say --
      24· ·after Sinosure, finish the process of our complaint and
      25· ·then they -- Sinosure requests Benlida to add the


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 5 of 20
                                       Huang Sulan
                                       May 26, 2023                           38

      ·1· ·premium in the future transaction because they need
      ·2· ·premium to cover some debt.· So that's why at that time
      ·3· ·we request Circuitronix to do the prepayment and also
      ·4· ·premium.
      ·5· · · · Q.· ·And did Circuitronix agree to make a
      ·6· ·prepayment with a premium at that point in time?
      ·7· · · · A.· ·Yes.
      ·8· · · · Q.· ·Okay.· And the premium is -- it is ten percent
      ·9· ·more?
      10· · · · A.· ·Sometime -- it means during some periods of
      11· ·time, I cannot remember the exact month, it was ten
      12· ·percent.· And then we cut down to 3 percent because we
      13· ·talked to Sinosure and apply to their approval to agree
      14· ·to 3 percent.
      15· · · · Q.· ·Okay.· So that's the premium you are talking
      16· ·about?
      17· · · · A.· ·Yes.
      18· · · · Q.· ·And so since that prepayment time started,
      19· ·that was when, sometime in 2019?
      20· · · · A.· ·I think September -- June -- no, April or May
      21· ·2019 I think.· I cannot remember exact month.
      22· · · · Q.· ·Okay.· Okay.· Whenever that was --
      23· · · · A.· ·Uh-huh.
      24· · · · Q.· ·-- you are saying in this answer that the
      25· ·premiums have been applied to pay down past debt on a


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 6 of 20
                                       Huang Sulan
                                       May 26, 2023                          114

      ·1· · · · Q.· ·Okay.· So some of the boards were built --
      ·2· · · · A.· ·Built in Benlida and some of the board were
      ·3· ·built in ROK.
      ·4· · · · Q.· ·Which is, like, across the street, I
      ·5· ·understand, from the Benlida factory?
      ·6· · · · A.· ·Yes, yes.· One street away.
      ·7· · · · Q.· ·Okay.· And then the immersion tin investment
      ·8· ·payment for $60,000 was an ROK immersion tin investment;
      ·9· ·right?
      10· · · · A.· ·Yes.
      11· · · · Q.· ·And the immersion tin investment was like in
      12· ·machinery; correct?
      13· · · · A.· ·Machine, yes.
      14· · · · Q.· ·And that machinery was physically located in
      15· ·ROK factory?
      16· · · · A.· ·In Benlida.
      17· · · · Q.· ·Well, there is two different lines for
      18· ·immersion tin investment.· One says Benlida for $80,000.
      19· ·One says ROK for $60,000; right?
      20· · · · A.· ·Yes.
      21· · · · Q.· ·Was -- was the entire immersion tin machinery
      22· ·only in the Benlida factory?
      23· · · · A.· ·Yes.
      24· · · · Q.· ·Okay.· So some of that -- why is it attributed
      25· ·to ROK is what I am asking?


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 7 of 20
                                       Huang Sulan
                                       May 26, 2023                          115

      ·1· · · · A.· ·Because ROK -- we need this wire received in
      ·2· ·ROK.
      ·3· · · · Q.· ·You need this wire received in ROK?
      ·4· · · · A.· ·Yes, yes, yes.
      ·5· · · · Q.· ·You mean that money for $60,000?
      ·6· · · · A.· ·Yes.
      ·7· · · · Q.· ·Why?
      ·8· · · · A.· ·Because when we do business during 2012, some
      ·9· ·months to 2014, I remember, and then we give discount on
      10· ·the shipments.· So all discount amount were issued a
      11· ·debit note by Circuitronix US and Hong Kong to ROK.· So
      12· ·at that time, it means we ship one million.· If we give
      13· ·7 percent discount and then we can only get 930,000 US
      14· ·dollar, for example.· So that is why there is a gap --
      15· ·we call a gap in -- in ROK accounts showing in the
      16· ·books.· So we want some money to be received on ROK
      17· ·account to let this gap became smaller.
      18· · · · Q.· ·Okay.· There are two things you said there
      19· ·that I want to ask you about.· One of them is I think I
      20· ·heard you say is that some of that $60,000 with respect
      21· ·to ROK, that's allocated to ROK, involve both CTX US and
      22· ·CTX Hong Kong; is that correct?
      23· · · · A.· ·Yes.
      24· · · · Q.· ·Okay.· And you also said that this concept of
      25· ·a gap --


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 8 of 20
                                       Huang Sulan
                                       May 26, 2023                          116

      ·1· · · · A.· ·Uh-huh.
      ·2· · · · Q.· ·-- and I want to ask you a question about
      ·3· ·that.
      ·4· · · · · · ·So what you're referring to I think is that
      ·5· ·when Benlida, let's say, ships product to a foreign
      ·6· ·company under Chinese customs requirements or perhaps
      ·7· ·also tax requirements, you can tell me, you have to show
      ·8· ·a match between if you shipped a million dollars of
      ·9· ·product, you have to have a million dollars of
      10· ·foreign -- US currency, let's say, to show for it in the
      11· ·books?
      12· · · · A.· ·Yes.· Yes.
      13· · · · Q.· ·Okay.· But you are saying that because you
      14· ·used the example of a 7 percent discount --
      15· · · · A.· ·Discount, yes.
      16· · · · Q.· ·-- you shipped out a million dollars of
      17· ·products, but you only showed $930,000 of receipts?
      18· · · · A.· ·Yes, correct.
      19· · · · Q.· ·And so who would -- who would be concerned
      20· ·about that?· The tax authority?
      21· · · · A.· ·The tax authority, yes.· The tax authority
      22· ·mostly.
      23· · · · Q.· ·Okay.· What about the customs authority?· That
      24· ·is not their business?
      25· · · · A.· ·Custom, I don't know.· Because I am not the


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 9 of 20
                                       Huang Sulan
                                       May 26, 2023                          117

      ·1· ·one who dealing with them.
      ·2· · · · Q.· ·Okay.
      ·3· · · · A.· ·So I don't know.
      ·4· · · · Q.· ·So because of this discount that you offered
      ·5· ·to --
      ·6· · · · A.· ·Circuitronix.
      ·7· · · · Q.· ·-- Circuitronix, you asked Circuitronix
      ·8· ·through Rishi to make this payment to balance the
      ·9· ·books --
      10· · · · A.· ·Yes.
      11· · · · Q.· ·-- in Benlida's books?
      12· · · · A.· ·In ROK's books.
      13· · · · Q.· ·Sorry, ROK's books.· Well, also Benlida's
      14· ·books or no?· The $80,000?
      15· · · · A.· ·Benlida -- I cannot remember why at that time
      16· ·sent to Benlida.· Maybe it's because Benlida buy this
      17· ·machine.· So exactly I cannot remember.
      18· · · · Q.· ·Okay.· So let me ask this question.· If you
      19· ·are giving a price discount to a customer --
      20· · · · A.· ·Yes.
      21· · · · Q.· ·-- why not just tell the tax authorities that,
      22· ·to use your example, this is not a million dollars of
      23· ·valued product.· It is only $930,000 of product so that
      24· ·then you don't have that problem afterwards?
      25· · · · A.· ·Now they have some policy can explain like


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 10 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          118

     ·1· ·this.· And -- but many years ago, it just a fixed rule.
     ·2· ·And then if we cannot meet this, we need to pay the
     ·3· ·tax -- pay more tax, something like that.
     ·4· · · · Q.· ·Okay.· So that's the problem.· If the books
     ·5· ·don't balance --
     ·6· · · · A.· ·Yes.· We need to pay --
     ·7· · · · Q.· ·-- the tax authority say Benlida has to -- or
     ·8· ·ROK has to pay a tax?
     ·9· · · · A.· ·Yes.· Yes.· Yes.
     10· · · · Q.· ·Okay.· Did you ever just pay the tax?
     11· · · · A.· ·Yes.· Yes.· Because of this gap, we -- we pay
     12· ·the tax.
     13· · · · Q.· ·But I guess I am asking why did you ask
     14· ·Circuitronix to send money to take care of that problem
     15· ·if it was not really Circuitronix's problem, it was
     16· ·really ROK's problem with the tax authority?
     17· · · · A.· ·But this money -- this money was agreed to
     18· ·pay.· So anyway, just different accounts we need.
     19· · · · Q.· ·Okay.· It was agreed to pay after the fact?
     20· · · · A.· ·Yes.
     21· · · · Q.· ·To fix this problem?
     22· · · · A.· ·Yes.· Yes.
     23· · · · Q.· ·Okay.· And let me -- what is the wire transfer
     24· ·by Tracy?· That is you; right?
     25· · · · A.· ·Yes.· Yes.


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 11 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          119

     ·1· · · · Q.· ·For $200,000, what was that payment for?
     ·2· · · · A.· ·This payment Circuitronix sent to ROK, 200,000
     ·3· ·US dollars.
     ·4· · · · Q.· ·Uh-huh.
     ·5· · · · A.· ·And then I transfer -- and I transfer
     ·6· ·150,000 US dollar to Rishi from my personal account in
     ·7· ·Hong Kong.· But that account Rishi is not in his name.
     ·8· · · · Q.· ·I am sorry, say that last part again.
     ·9· · · · A.· ·The account I sent from my Hong Kong personal
     10· ·account is not the -- the name is not Rishi.
     11· · · · Q.· ·What was the name?
     12· · · · A.· ·I cannot remember.
     13· · · · Q.· ·Okay.· Can you tell me what this was all
     14· ·about, this transaction?
     15· · · · A.· ·This transaction is also need to cover some
     16· ·gap of ROK books on the tax department.· Same.· Similar
     17· ·like the immersion tin --
     18· · · · Q.· ·I'm sorry, similar what?
     19· · · · A.· ·Similar like the immersion tin and OSP
     20· ·chemical payment receive to cover some gap.
     21· · · · Q.· ·To cover a gap.
     22· · · · A.· ·Um-hum.
     23· · · · Q.· ·So why did -- if there was a gap, the gap was
     24· ·on the books of ROK?
     25· · · · A.· ·Yes.


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 12 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          120

     ·1· · · · Q.· ·And Circuitronix?
     ·2· · · · A.· ·Yes.
     ·3· · · · Q.· ·Do you remember was the gap on books of
     ·4· ·Circuitronix US and ROK or Circuitronix Hong Kong and
     ·5· ·ROK?
     ·6· · · · A.· ·I cannot remember.
     ·7· · · · Q.· ·Okay.· And -- let me see.· I may be able to
     ·8· ·refresh your memory.· Let me ask you to turn to
     ·9· ·Exhibit 82.
     10· · · · A.· ·82.· Nothing.
     11· · · · Q.· ·Not there?· Just one page.· 82 is missing from
     12· ·the book.
     13· · · · · · ·MR. LERNER:· 82 is missing.
     14· · · · · · ·MR. ROSENTHAL:· Rich, could you give her
     15· · · · yours --
     16· · · · · · ·MR. LERNER:· My copy?
     17· · · · · · ·MR. ROSENTHAL:· Yeah.· It is 407 A.
     18· ·BY MR. ROSENTHAL:
     19· · · · Q.· ·So I have handed you Exhibit 82 that was
     20· ·previously marked.· It is a June 7th, 2018, e-mail from
     21· ·you to Rishi copied to Douglas.
     22· · · · A.· ·Okay.
     23· · · · Q.· ·Take a look at that and tell me if it
     24· ·refreshes your memory about this particular transaction?
     25· · · · A.· ·Yes.· Here it says CTX, Hong Kong.


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 13 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          191

     ·1· ·sent debit memos to someone at Benlida, that would come
     ·2· ·as a surprise to you during the time period you just
     ·3· ·identified as them not sending them; right?
     ·4· · · · A.· ·Can you repeat your answer -- your question?
     ·5· · · · Q.· ·Yeah.
     ·6· · · · A.· ·I'm sorry.
     ·7· · · · Q.· ·During -- during the periods of times that
     ·8· ·you've just testified that Circuitronix did not send
     ·9· ·debit memos to Benlida, if there were e-mails showing
     10· ·that they did send them to Benlida, that would come as a
     11· ·surprise to you, I assume?
     12· · · · A.· ·Yes.
     13· · · · Q.· ·Okay.· Okay.· Was one of the reasons that you
     14· ·asked Circuitronix to -- you or Benlida, I say you, but
     15· ·I mean the company -- asked Benlida to hold the debit
     16· ·memos with respect to lead time penalties because it was
     17· ·creating a gap in the accounting books for Benlida?
     18· · · · A.· ·Yes.· Yes.· Yes.
     19· · · · Q.· ·And by that, as you explained before, the
     20· ·customs or the tax department of China requires the
     21· ·books to match, that if you send out products, say,
     22· ·worth a million dollars --
     23· · · · A.· ·Yes.· Yes.
     24· · · · Q.· ·But you don't receive a million dollars, US
     25· ·dollars back, there is this gap?


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 14 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          192

     ·1· · · · A.· ·Yes.
     ·2· · · · Q.· ·And it could lead to a penalty that Benlida
     ·3· ·would have to pay the Chinese government?
     ·4· · · · A.· ·It will lead to pay the tax, not penalty.
     ·5· · · · Q.· ·I am sorry.
     ·6· · · · A.· ·The tax.
     ·7· · · · Q.· ·The tax.· Oh, if they match, you avoid having
     ·8· ·to pay the VAT?
     ·9· · · · A.· ·Yes.· Yes.
     10· · · · Q.· ·Value added tax.
     11· · · · A.· ·Yes.· Yes.
     12· · · · Q.· ·If they don't match?
     13· · · · A.· ·We have to pay.
     14· · · · Q.· ·Okay.· The tax.
     15· · · · A.· ·Um-mm.
     16· · · · Q.· ·And the reason that the -- when Circuitronix
     17· ·was not holding the lead time penalty debits that it was
     18· ·counting, that meant that it was not paying?· I am
     19· ·asking you this.· Did that mean it was not --
     20· ·Circuitronix was not paying Benlida the full value of
     21· ·the invoice?
     22· · · · A.· ·Yes.
     23· · · · Q.· ·Because Circuitronix was saying, hey, we think
     24· ·you have these lead time penalties --
     25· · · · A.· ·Lead time penalty.


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 15 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          195

     ·1· · · · A.· ·No.· No.
     ·2· · · · Q.· ·Okay.· When was the first time to your
     ·3· ·knowledge that Benlida took out insurance through
     ·4· ·Sinosure?
     ·5· · · · A.· ·Can you repeat?
     ·6· · · · Q.· ·Yeah.· When was the first time that Benlida
     ·7· ·took out -- I call it insurance, but a policy, with
     ·8· ·Sinosure?
     ·9· · · · A.· ·Oh, you mean start the insurance with
     10· ·Sinosure.
     11· · · · Q.· ·Correct.· When did they start the insurance
     12· ·with Sinosure?
     13· · · · A.· ·If I am not -- if I remember correct, it
     14· ·should be starting from 2008.· But I am not sure.
     15· · · · Q.· ·Okay.· So 2008 possibly?
     16· · · · A.· ·Yeah, yeah, possibly.
     17· · · · Q.· ·You are aware of the fact that -- you may have
     18· ·actually testified about it and I had forgotten -- that
     19· ·Benlida made a claim -- actually, more than one claim in
     20· ·2019 with Sinosure regarding Circuitronix; correct?
     21· · · · A.· ·Yes.· Correct.
     22· · · · Q.· ·One was for Circuitronix US and one was for
     23· ·Circuitronix Hong Kong?
     24· · · · A.· ·Hong Kong, yes.
     25· · · · Q.· ·Prior to those two claims in -- were they in


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 16 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          196

     ·1· ·2019?
     ·2· · · · A.· ·2019, yes.
     ·3· · · · Q.· ·Okay.· Prior to those two claims, was there
     ·4· ·any -- was there ever a time before that that Benlida
     ·5· ·made a claim with Sinosure?
     ·6· · · · A.· ·Yes.
     ·7· · · · Q.· ·Okay.· With respect to Circuitronix?
     ·8· · · · A.· ·No.
     ·9· · · · Q.· ·Okay.· Which is the one that you are
     10· ·remembering, the earlier claim?
     11· · · · A.· ·I remember it is an Indian customer, but I
     12· ·cannot remember exact the name.
     13· · · · Q.· ·Do you remember approximately what year it
     14· ·was?
     15· · · · A.· ·Pardon?
     16· · · · Q.· ·Do you remember approximately what year it
     17· ·was?
     18· · · · A.· ·What year it was?· I cannot remember.· But
     19· ·before 2019.· This is -- I remember.· Okay.
     20· · · · Q.· ·Okay.· I am looking for a document.· It will
     21· ·be one of these folders that is all around me.· No, I'm
     22· ·going to proceed the way we were proceeding.
     23· · · · · · ·Let me ask you this about the Sinosure
     24· ·insurance.
     25· · · · A.· ·Okay.


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 17 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          197

     ·1· · · · Q.· ·So I understand how it works.· If you take out
     ·2· ·a policy -- if Benlida takes out a policy with Sinosure,
     ·3· ·does it apply to all of Benlida's customers, or is it
     ·4· ·customer specific?
     ·5· · · · A.· ·All customer and all sales.
     ·6· · · · Q.· ·Okay.· And is there -- does Sinosure place a
     ·7· ·kind of a credit limit with respect to certain
     ·8· ·customers?
     ·9· · · · A.· ·Yes.· Yes.
     10· · · · Q.· ·How does that work to your knowledge?
     11· · · · A.· ·From the beginning when we apply to Sinosure
     12· ·about one customer, we need to start a business with
     13· ·them.· We give them the information of this customer and
     14· ·then they will use their ways to verify whether they
     15· ·will release the credit limit.· Or if they did, they
     16· ·will -- they will give some numbers as the credit limit.
     17· · · · · · ·So if they say no, I cannot approve to release
     18· ·a credit limit on this customer, and then those
     19· ·transaction with this customer will not cover by their
     20· ·policy.
     21· · · · Q.· ·Okay.· When you refer to the term credit
     22· ·limit, it makes me think of a loan from a bank instead
     23· ·of an insurance company.· So what do you mean by a
     24· ·credit limit?· How does that work?
     25· · · · A.· ·That is not a loan.· Credit limit means that


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 18 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          198

     ·1· ·when our transaction within this limit, it was covered
     ·2· ·by the insurance policy.
     ·3· · · · Q.· ·Okay.· So in other words, it is like a limit
     ·4· ·of insurance coverage?
     ·5· · · · A.· ·Yes.
     ·6· · · · Q.· ·Okay.· Meaning, for example, if it's a million
     ·7· ·dollars?
     ·8· · · · A.· ·Uh-huh.
     ·9· · · · Q.· ·They will -- Sinosure will look at your
     10· ·customer, say Circuitronix, and say, all right, based
     11· ·upon our review of the accounts receivable and other
     12· ·variables, we're going to set a credit limit of a
     13· ·million dollars as to that customer?
     14· · · · A.· ·Yes.
     15· · · · Q.· ·So for how many years did Benlida have an
     16· ·insurance policy with Sinosure where Sinosure had
     17· ·assigned a credit limit to Circuitronix?
     18· · · · A.· ·I couldn't remember exactly.· I am not sure
     19· ·whether starting from 2012, 2014, I cannot -- I couldn't
     20· ·remember.
     21· · · · Q.· ·Okay.· And do you know whether the credit
     22· ·limit that Sinosure had assigned to Circuitronix was
     23· ·actually divided into Circuitronix US versus
     24· ·Circuitronix Hong Kong?
     25· · · · A.· ·Yes.· Yes.


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 19 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          199

     ·1· · · · Q.· ·And do you know why Sinosure kept them
     ·2· ·separate?
     ·3· · · · A.· ·Because they are different entities.· So they
     ·4· ·have to -- it means separate it.
     ·5· · · · Q.· ·Okay.
     ·6· · · · A.· ·But we applied to them to combine and then
     ·7· ·that's why we need Circuitronix to sign those one paper
     ·8· ·in 2014.· Because they only release very small amount
     ·9· ·credit limit on Circuitronix Hong Kong, which cannot
     10· ·satisfy the transaction between Benlida or ROK with CTX
     11· ·Hong Kong.
     12· · · · Q.· ·Okay.· I want to show you that document that
     13· ·you referenced in a minute.
     14· · · · A.· ·Yes.
     15· · · · Q.· ·From 2014 to make sure that we're talking
     16· ·about the same thing or thinking about the same thing.
     17· · · · A.· ·Yeah.· Okay.· Okay.
     18· · · · Q.· ·But first, let me ask you if Sinosure didn't
     19· ·have a very high credit limit for Circuitronix Hong Kong
     20· ·in 2013 or '14 --
     21· · · · A.· ·Okay.· I can understand, yes.
     22· · · · Q.· ·-- what difference does that make to Benlida
     23· ·as long as Circuitronix Hong Kong is paying its invoices
     24· ·that you send them, you never have to make an insurance
     25· ·claim?


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
Case 0:21-cv-60125-RNS Document 202-3 Entered on FLSD Docket 08/22/2023 Page 20 of
                                      Huang
                                       20     Sulan
                                      May 26, 2023                          221

     ·1· ·Yeah.
     ·2· · · · Q.· ·Okay.· So to summarize what I think you just
     ·3· ·testified, tell me if this is correct, you asked Rishi
     ·4· ·to sign this attachment to your e-mail, which is
     ·5· ·Exhibit 61, and it is entitled Letter of Authorization
     ·6· ·for Payment and Trust?
     ·7· · · · A.· ·Yes.
     ·8· · · · Q.· ·But he did not sign it?
     ·9· · · · A.· ·Yes.
     10· · · · Q.· ·So as a result or subsequent thereto, the
     11· ·custom record for Benlida --
     12· · · · A.· ·For Benlida and Circuitronix Hong Kong.
     13· · · · Q.· ·Remained imbalanced.
     14· · · · A.· ·Yes.
     15· · · · Q.· ·Unbalanced?
     16· · · · A.· ·Yes.
     17· · · · Q.· ·And as a result, Benlida had to pay --
     18· · · · A.· ·Pay the VAT, yes.
     19· · · · Q.· ·-- the VAT tax to the customs department?
     20· · · · A.· ·Yes.· Yes.
     21· · · · Q.· ·Okay.· Did Benlida then look to Circuitronix
     22· ·to say, hey, you made me pay taxes that I shouldn't have
     23· ·had to pay.· Can you pay me something?
     24· · · · A.· ·No.· No.· We know that Circuitronix will not
     25· ·agree to do so.


                                  U.S. LEGAL SUPPORT
                                www.uslegalsupport.com                            YVer1f
